        Case 1:23-cv-08896-GHW-JLC Document 21 Filed 01/02/24 Page 1 of 2
                                                                      USDC SDNY
                                                                      DOCUMENT
                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 1/2/2024
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                                                                  :
ALEXANDRA POOLOS,                                                 :
                                                                  :
                                                  Plaintiff,      :     1:23-cv-8896-GHW
                                                                  :
                              -v -                                :          ORDER
                                                                  :
PARAMOUNT GLOBAL, et al.,                                         :
                                                                  :
                                               Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

         If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, within two weeks of the date of this order file on ECF a fully executed Notice, Consent,

and Reference of a Civil Action to a Magistrate Judge form, a copy of which is attached to this order

(and also available at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). The

executed form should be filed on ECF as a “Proposed Consent to Jurisdiction by US Magistrate

Judge,” and be described using the “Proposed Consent to Jurisdiction by US Magistrate Judge”

filing event in accordance with ECF Rule 13.27. If the Court approves that form, all further

proceedings will then be conducted before the assigned Magistrate Judge rather than before me.

Any appeal would be taken directly to the United States Court of Appeals for the Second Circuit, as

it would be if the consent form were not signed and so ordered.

         If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks of the date of this order
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advising the Court that the parties do not consent, but without disclosing the identity of the

party or parties who do not consent. The parties are free to withhold consent without negative

consequences.

       SO ORDERED.

 Dated: January 2, 2024                           _____________________________________
 New York, New York                                        GREGORY H. WOODS
                                                          United States District Judge




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